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VIA ECF

The Honorable Diane Gujarati
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11202

       Re: United States v. Asante Kwaku Berko, No. 20-CR-328 (DG)

Dear Judge Gujarati:

         I write to you on behalf of my client, Asante Kwaku Berko, to request that the Court find that
the conditions of Mr. Berko’s bond have been met and order that he be released from home
detention. On July 16, 2024, Mr. Berko was presented and arraigned before the Honorable Vera M.
Scanlon and released pursuant to bail conditions, including a $600,000 bond, co-signed by his sister,
his sister’s husband, and his sister-in-law, and secured by $250,000 cash and the home of his sister
and her husband, located in Monroe County, Pennsylvania. (Dkt. 12). He was placed under home
detention, to be replaced by a curfew and travel restrictions once these bail conditions were met. Id.
Mr. Berko previously satisfied the cash and co-signor conditions and has now perfected the
conditional lien on the property located in Monroe County, Pennsylvania. A filed copy of the
conditional lien will be attached to a separate request that it be filed under seal.

         Because Mr. Berko has now satisfied his bail conditions, we respectfully request the Court to
order that Mr. Berko be released from home detention and instead be placed under curfew with travel
restrictions as set forth in Judge Scanlon’s July 16, 2024 Order of Release.

Sincerely,

s/ Robert L. Boone

Robert L. Boone
